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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


IQUAN KHIER WILLIAMS,

        Plaintiff,

V.                                                 Civil Action No. 3:20CV510-HEH

ORTIZ,et al..

        Defendants.

                              MEMORANDUM OPINION
                         (Dismissing Action Without Prejudice)

        On July 21,2020,the Court conditionally docketed Plaintiffs action. Plaintiff
requested leave to proceed informa pauperis. By Memorandum Order entered on
September 3,2020,the Court directed Plaintiffto pay an initial partial filing fee of
$10.72 or state under penalty of perjury that he did not have sufficient assets to pay such

a fee within eleven(11)days ofthe date of entry thereof. See 28 U.S.C. § 1915(b)(1).

Plaintiff has neither paid the initial partial filing fee nor averred that he cannot pay such a

fee. Therefore, Plaintiff is not entitled to proceed informa pauperis. Plaintiffs disregard

ofthe Court's directives warrants dismissal ofthe action. Accordingly, the action will be

dismissed without prejudice.

        An appropriate Order shall accompany this Memorandum Opinion.



                                                              /s/
                                    HENRY E. HUDSON
Date:                   o            SENIOR UNITED STATES DISTRICT JUDGE
Richmond, Virginia
